
705 S.E.2d 365 (2010)
STATE of North Carolina
v.
Joe Nathan BROWN.
No. 504P10.
Supreme Court of North Carolina.
December 15, 2010.
Karen A. Blum, Assistant Attorney General, for State of North Carolina.
Joe Nathan Brown, for Brown, Joe Nathan.
Peter S. Gilchrist, III, District Attorney, for State.

ORDER
Upon consideration of the petition filed by Defendant on the 17th of November 2010 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*366 "Denied by order of the Court in conference, this the 15th of December 2010."
